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                   IN THE UNITED STATES BANKRUPTCY COURT
            FOR THE NORTHERN DISTRICT OF ILLIONIS, EASTERN DIVISION

In Re:                                         )
                                               )     Chapter 11
ALFREDO AVILA and                              )
TERESITA MARSALA-AVILA,                        )
                                               )     Case No. 15 B 14355
                       Debtors.                )
                                               )
                                               )
                                               )
                                               )     Honorable Judge Jack B. Schmetterer


    REPORT OF STATUS OF ALL INITIAL PAYMENTS UNDER CONFIRMED PLAN
            PURSUANT TO COURT ORDER DATED NOVEMBER 9, 2015
______________________________________________________________________________

         NOW COMES ALFREDO AVILA and TERESITA MARSALA-AVILA (“Debtors”),

by and through their attorneys, Sulaiman Law Group, LTD, and reports to the Court all Initial

Payments under the Confirmed Plan of Reorganization (November 9, 2015) as follows:

CLASS 1 -Secured Claim of PNC Bank, N.A. as to 34 Regent Drive, Oak Brook, Illinois 60523.
Paid November, 2015 and December, 2015 in the amount of $2,692.13 since Plan Confirmation.

CLASS 2 -Secured Claim of TCF National Bank as to 34 Regent Drive, Oak Brook, Illinois
60523. Paid November, 2015 and December, 2015 in the amount of $800.00 since Plan
Confirmation.

CLASS 3-Secured Claim Byline Bank as to 2500 S. Drake Avenue, Chicago, Illinois 60623 and
2458 S. Millard, Chicago, Illinois 60623. No payments made as Plan calls for no payment to this
creditor and class.

CLASS 4- Secured Claim of PNC Bank, N.A. Secured Claim of PNC Bank, N.A. as to the
Debtors' 2012 Audi A8L. Paid November, 2015 and December, 2015 in the amount of
$945.08/month since Plan Confirmation.

CLASS 5- Secured Claim of Toyota Lease Trust. Secured Claim of Toyota Lease Trust as to the
Debtors' 2013 Toyota Tundra. Paid November, 2015 and December, 2015 in the amount of
$464.31/month since Plan Confirmation.
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Class Six- Allowed Non Priority Unsecured Claims - Each Holder of Allowed Class 6 Claims
(American Express Centurion Bank, American Express Travel Related Services, JPMorgan
Chase Bank, N.A. (3 claims), Citibank SD, N.A., Comenity Bank, DSNB Macy's, Quantum3
Group LLC, Synchrony Bank, Target Credit Card and Wells Fargo Bank, N.A. (3 accounts))
pursuant to the Plan of Reorganization has been paid two payments of $1,584.39/month pro rata

Dated: December 20, 2015                          Respectfully Submitted,

                                                  ALFREDO AVILA and TERESITA
                                                  MARSALA-AVILA
                                                  /s/ Paul M. Bach
                                                  Paul M. Bach, Esq. #6209530
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                                                  900 Jorie Blvd, Ste 150
                                                  Oak Brook, IL 60523
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